                                 UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TENNESSEE
                                         AT KNOXVILLE



KEVIN FADDIS,                                         *
                                                      *
               Plaintiff,                             *
                                                      *
VS.                                                   *      Case No. 3:09-cv-193
                                                      *      (R. Leon Jordan, Judge,
WESTFIELD INSURANCE COMPANY,                          *      C. Clifford Shirley, Magistrate Judge)
                                                      *
               Defendant.                             *              (Jury Demand)



                                   STIPULATION OF DISMISSAL



       Pursuant to Rule 41(a)(1)(A)(ii), Federal Rules of Civil Procedure, come the parties to this

action and voluntarily dismiss this civil action and Complaint, without prejudice, among, against and

between all parties to this litigation in that all matters have been compromised and settled privately; and

that this action is not subject to the provisions of Rule 23(e), 66, or of any statute of the United States.

Each party will bear its/their own costs.



                                                      APPROVED FOR ENTRY:



                                                      s/Arthur F. Knight, III
                                                      Arthur F. Knight, III (BPR #016178)
                                                      Counsel for Plaintiff
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                                                      s/S. Morris Hadden
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                                                      Counsel for Defendant
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                                     CERTIFICATE OF SERVICE


        I hereby certify that on January 19, 2010, a copy of the foregoing Stipulation of Dismissal was
filed electronically. Notice of this filing will be sent by operation of the Court’s electronic filing system
to all parties indicated on the electronic filing receipt. All other parties will be served by regular U. S.
Mail. Parties may access this filing through the Court’s electronic filing system.

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       Knoxville, TN 37929


                               s/S. Morris Hadden
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